US. Ca se 6:07-cv-01175-PCF-KRS Document 14p jeg QQ hOCE BAND RRIVHREO

epartment of Justice See Instructions for “Service of Process by the U.S. Marshal”

United States Marshals Service on the reverse of this form.

   

 

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» Orange. County Bord of County Com sibnes

ADDRESS (Stgegt or RFD, Apart TE

Clty, State and ZIP Code,
aT | OC / oi ea! l; J Avenue, Orland, LEI

 

 

 

 

 

SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW:
= ee ee ee ee I Number of process to te
I served with this Form - 285
T Shela ev |
h " j Number of parties to be
709 West ee j served in this case om
L
| OCVIan ol a] Fh I Check for service
wee oe on U.S.A.

 

 

SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (Include Business and Alternate Addresses, All

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Telephone Numbers, and Estimate fies Available For Service):
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TELEPHONE NUMBER DATE /
/APLAINTIFF ; G «
() DEFENDANT YO CLS G / 240 7
PACE BELOW FOR USE OF US. HAL ONLY — DO NOT WRITE BELOW THIS LINE
1 acknowledge receipt for the total | Total Process] District District Signature of Authorized USMS Deputy or Clerk Date
number of process indicated. of Origin to Serve
(Sign only first USM 285 if more
than onc USM 285 is submitted) No. No.
I hereby certify and return that I ave personally served, [J have legal evidence of service, (] have executed as shown in “Remarks”, the process described
on the individual, company, corporation, etc., at the address shown above or on the individual, company, corporation, etc., shown ‘at the address inserted below.
Or hereby certify and return that I am unable to locate the individual, company, corporation, etc., named above (See remarks below)
Name and title of individual served (if not shown above) A person of suitable age and dis-
ZL . [4 cretion then residing in the defendant's
t /e fick LEN. Ma ~ Ass crstant law Y Ate y usual place of abode.
Address (complete only if different than fhown above) { Date of Service | Time am

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7s Fee Total Mileage Charges |{ Forwarding Fee | Total Charges | Advance Deposits Amount owed to U.S. Marshal or Amount OF RefIRG
“ye? fo (including endeavors) =
REMARKS:
PRIOR EDITIONS 1. CLERK OF THE COURT FORM USM-285 (Rev. 12/15/80)

MAY BE USED
